8:09-cr-00382-JFB-SMB          Doc # 256       Filed: 01/23/15     Page 1 of 2 - Page ID # 678




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiffs,                                      8:09CR382

       vs.
                                                                          ORDER
FELIX ALARCON,

                      Defendant.


       Defendant Felix Alarcon appeared before the court on January 23, 2015 on a Petition for
Warrant or Summons for Offender Under Supervision [250]. The defendant was represented by
Assistant Federal Public Defender Karen M. Shanahan, and the United States was represented by
Assistant U.S. Attorney Martin J. Conboy, IV. Through his counsel, the defendant waived his
right to a probable cause hearing on the Report pursuant to Fed. R. Crim. P. 32.1(a)(1). The
government moved for detention.       Through counsel, the defendant declined to present any
evidence on the issue of detention and otherwise waived a detention hearing. Since it is the
defendant’s burden under 18 U.S.C. § 3143 to establish by clear and convincing evidence that he
is neither a danger to the community nor a flight risk, the court finds the defendant has failed to
carry his burden and that he should be detained pending a dispositional hearing before Senior
Judge Bataillon.
       I find that the Report alleges probable cause and that the defendant should be held to
answer for a final dispositional hearing before Senior Judge Bataillon.
       IT IS ORDERED:
       1.      A final dispositional hearing will be held before Senior Judge Bataillon in
Courtroom No. 3, Third Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza,
Omaha, Nebraska, on March 6, 2015 at 9:30 a.m. Defendant must be present in person.
       2.      The defendant, Felix Alarcon, is committed to the custody of the Attorney
General or his designated representative for confinement in a correctional facility;
       3.      The defendant shall be afforded a reasonable opportunity for private consultation
with defense counsel; and
8:09-cr-00382-JFB-SMB          Doc # 256      Filed: 01/23/15     Page 2 of 2 - Page ID # 679




       4.      Upon order of a United States court or upon request of an attorney for the
government, the person in charge of the corrections facility shall deliver defendant to the United
States Marshal for the purpose of an appearance in connection with a court proceeding.




       Dated this 23rd day of January, 2015

                                                    BY THE COURT:
                                                    s/ F.A. Gossett, III
                                                    United States Magistrate Judge




                                                2
